    Case: 1:17-cv-09339 Document #: 36 Filed: 09/14/18 Page 1 of 4 PageID #:147




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

WALTER BRZOWSKI              )
                             )
               Plaintiff,    )
                             )
     v.                      )                 No. 17 CV 09339
                             )
JOHN R. BALDWIN, MICHAEL     )
MELVIN, GUY PIERCE, NICHOLAS )
LAMB, BRENDA SIGLER, and     )
DAVID HADLEY,                )
                             )
               Defendants.   )

           PLAINTIFF'S MOTION TO SUBMIT NEW AUTHORITY IN
            RESPONSE TO DEFENDANTS' MOTION TO DISMISS

      Plaintiff Walter Brzowski moves to submit new authority in support of his

Response to Defendants' Motions to Dismiss (Dkt. No. 35), and, in support, states as

follows:

      1.     On August 20, 2018, Defendants filed a Motion to Dismiss, (Dkt. No.

33.) in which they argued that Mr. Brzowski's false imprisonment claim should be

dismissed because the statute of limitations began accruing during his

imprisonment, on January 30, 2015. (Dkt. No. 33, p.9-10.)

      2.     In his response, Mr. Brzowski argued that his claims did not begin

accruing until he was released from prison in July 2017. (Dkt. No. 25, pgs. 5-7.)

Among other authorities, Mr. Brzowski's response cited to the U.S. Supreme Court's

decision in Manuel v. City of Joliet, Illinois, et al., which remanded to the Seventh

Circuit to determine when the claim in that case accrued. (Id.)
    Case: 1:17-cv-09339 Document #: 36 Filed: 09/14/18 Page 2 of 4 PageID #:148




       3.     On September 10, 2018,1 the Seventh Circuit issued an opinion on the

remand of Manuel v. City of Joliet, Illinois, et al., addressing the accrual date of

Fourth Amendment claims. (Exhibit 1, Slip. Op.; 2018 U.S. App. LEXIS 25594

(7th Cir. Sept. 10, 2018).)

       4.     In addressing when Manuel's claims related to detention accrued, the

Seventh Circuit held that "when a search or seizure causes injury independent of

time spent in custody, the claim accrues immediately; but when the objection is to

the custody, a different approach must control." Id. at *4.

       5.     The Seventh Circuit held that when an injury is ongoing, as in the case

of a detention, the statute of limitations does not begin accruing until the wrong

ends. Id. (holding that "a claim cannot accrue until the would-be plaintiff is entitled

to sue, yet the existence of detention forbids a suit for damages contesting that

detention’s validity.").

       6.     Finally, the Seventh Circuit, consistent with Mr. Brzowski's

arguments in this case, that a claim does not accrue before it is possible to sue on it.

Id. at *7 (citation omitted).

       7.     The Seventh Circuit's application of the Supreme Court's holding in

Manuel confirms that the statute of limitations did not begin accruing on Mr.

Brzowski's claim of false imprisonment until he was actually released from IDOC

custody in July 2017. Until the Illinois appellate court ruled that his detention was




1This was the same day that Plaintiff's response was filed and counsel did not have access
to the decision before filing the response brief.
                                           -2-
    Case: 1:17-cv-09339 Document #: 36 Filed: 09/14/18 Page 3 of 4 PageID #:149




improper, Mr. Brzowski could not have brought suit under § 1983 and his claim

could not have started accruing.

      WHEREFORE, Plaintiff Walter Brzowski respectfully requests that this

Court consider the Seventh Circuit's decision in Manuel v. City of Joliet, Illinois, et

al. and deny Defendants' motion to dismiss based on the statute of limitations.

                                                PLAINTIFF WALTER BRZOWKSI

                                                By: /s/Victor P. Henderson
                                                       One of his Attorneys
Victor P. Henderson
Christopher W. Carmichael
Alexandra H. Roffman
HENDERSON PARKS, LLC
140 South Dearborn St., Suite 1020
Chicago, IL 60603
Tel.: (312) 262-2900
vphenderson@-henderson-parks.com
ccarmichael@henderson-parks.com
aroffman@henderson-parks.com




                                          -3-
    Case: 1:17-cv-09339 Document #: 36 Filed: 09/14/18 Page 4 of 4 PageID #:150




                          CERTIFICATE OF SERVICE

      The undersigned certifies that on September 14, 2018, the foregoing

Plaintiff's Motion to Submit New Authority In Response to Defendants'

Motion to Dismiss was electronically filed with the Clerk of the United States

District Court for the Northern District of Illinois by filing through the CM/ECF

system, which served a copy of the foregoing upon all counsel of record.

                                                  By: /s/ Victor P. Henderson
